                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

In re:                                                             Case No. 12-53023
                                                                   (Jointly Administered)
RALPH ROBERTS REALTY, LLC, et al.,1                                Chapter 11
                                                                   Judge Thomas J. Tucker
            Debtors.
___________________________________/

                               ORDER DENYING CONFIRMATION
                              OF DEBTORS’ THIRD AMENDED PLAN

       These jointly-administered cases came before the Court on October 17, 2012, for a
hearing on confirmation of Debtors’ Third Amended Plan (Docket # 71). At the conclusion of
the hearing, the Court took the matter under advisement. Today, the Court issued a written
opinion regarding confirmation (Docket # 141). For the reasons stated by the Court in its written
opinion,

         IT IS ORDERED that:

1. Confirmation of Debtors’ Third Amended Plan (Docket # 71) is denied.

2. No later than November 2, 2012, Debtors must file one of the following items: (1) a new
combined plan and disclosure statement that is consistent with the Court’s written opinion filed
today; or (2) a motion to convert this case to Chapter 7; or (3) a motion to dismiss this case.

3. If Debtors file a new combined plan and disclosure statement, Debtors also must file, at the
same time but as a separate docket item, a redline of the Debtor’s new combined plan and
disclosure statement which highlights all of the changes made to Debtor’s Third Amended Plan
(Docket # 71).


Signed on October 19, 2012                                 /s/ Thomas J. Tucker
                                                           Thomas J. Tucker
                                                           United States Bankruptcy Judge




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             This case is jointly administered with the case of Ralph R. Roberts, Case No. 12-53024.



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